
USCA1 Opinion

	










          September 25, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           
                                 ____________________


        No. 95-1045 

                                     FELIX ROSSI,

                                Plaintiff, Appellant,

                                          v.

              DONNA E. SHALALA, SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Selya and Boudin, Circuit Judges.
                                            ______________

                                 ____________________

            Barbara E. Oro on brief for appellant.
            ______________
            Donald K.  Stern, United  States Attorney,  Charlene A.  Stawicki,
            ________________                            _____________________
        Special  Assistant  United  States  Attorney,  and  Jessie  M.  Klyce,
                                                            _________________
        Assistant Regional  Counsel, Department of Health  and Human Services,
        on brief for appellee.


                                 ____________________


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                      Per  Curiam.    Claimant  Felix Rossi  appeals  the
                      ___________

            Secretary's decision that he is not disabled under either the

            Social  Security Disability  Insurance  program ("SSDI"),  42

            U.S.C.    401  et seq., or  the Supplemental Security  Income
                           __ ___

            program  ("SSI"), 42  U.S.C.   1381  et seq.1   The  district
                                                 __ ___

            court  granted judgment in favor of the Secretary.  We affirm

            the district court's decision.  

            Background
            __________

                 Claimant,  formerly   a  laborer  in   the  construction

            industry,  filed for disability benefits  on January 3, 1992,

            with  a protected  filing  date of  December  30, 1991.    He

            alleged disability  as of June  14, 1990, the date  of a slip

            and fall accident which  caused him to suffer a  back injury.

            Claimant met  the insured status requirements  through March,

            1992.   The Administrative Law  Judge ("ALJ") held  a hearing

            and  heard testimony  from claimant  and a  vocational expert

            ("VE").  Claimant was represented by an attorney.  

                 After the hearing, the  ALJ found that claimant was  not

            working;  that  he suffered  a  severe  impairment; that  his

            symptoms did not meet or equal any listed impairment; that he

            could not return to  his past relevant work; and  that he was

            not  disabled  since he  could perform  other  work.   See 20
                                                                   ___

            C.F.R.     404.1520.   The  Appeals  Council refused  review.

                                
            ____________________

            1.  For  simplicity, we  refer only  to the  SSDI regulations
            since they are  identical in all relevant particulars  to the
            SSI regulations.   

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            Claimant appealed  to the district court,  which affirmed the

            Secretary.  This appeal followed.

            Discussion
            __________

                 We  address each  of  claimant's arguments  in turn  and

            incorporate  facts  and  medical  evidence as  needed.    Our

            standard  of review is limited.   The Secretary's findings of

            fact  are conclusive  if  they are  supported by  substantial

            evidence.  "`We must uphold the Secretary's findings ... if a

            reasonable mind,  reviewing the evidence  in the record  as a

            whole,   could  accept   it  as   adequate  to   support  his

            conclusion.'"  Irlanda Ortiz v. Secretary of Health and Human
                           _____________    _____________________________

            Services,  955  F.2d  765,   769  (1st  Cir.  1991),  quoting
            ________

            Rodriguez v. Secretary of Health and Human Services, 647 F.2d
            _________    ______________________________________

            218, 222 (1st Cir. 1981).  

                 1.    Claimant  argues  first  that  the  ALJ  erred  in

            concluding  that he did not  suffer from a listed impairment.

            See   20   C.F.R.  Part   404,   Subpart   P.,  Appendix   I.
            ___

            Specifically,  claimant alleges  that his condition  meets or

            equals in severity Listing 1.05(C).2 


                                
            ____________________

            2.  Disorders of the spine:
              ...
              C.  Other vertebrogenic  disorders (e.g., herniated nucleus
            pulposus,  spinal stenosis) with the following persisting for
            at least  3 months despite prescribed therapy and expected to
            last 12 months.  With both 1 and 2:
              1.    Pain, muscle  spasm,  and  significant limitation  of
            motion in the spine; and
              2.  Appropriate radicular distribution of significant motor
            loss with muscle weakness and sensory and reflex loss. 

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                 We agree with the Secretary that the medical evidence of

            record does not indicate that claimant's  condition satisfies

            the  requirements  set out  in the  Listing.   We  review the

            evidence  of reflex loss.  In his  exam of July 30, 1990, Dr.

            Dorsey found the  left knee and both  ankle jerks diminished,

            but the right  knee jerk active.   In  his September 4,  1990

            exam,  Dr. Baradaran  found  normal knee  jerks and  slightly

            diminished ankle  jerks; he  specifically found "no  motor or

            sensory deficit in the right or left lower extremity."  Other

            record evidence reflects diminished patella and absent  ankle

            jerks in December, 1991, and diminished left patella reflexes

            in April  and May, 1992.   In July, 1992, Dr.  Beal found "no

            radicular-type sensory  deficits," and "no focal  deficits in

            the  reflexes,   strength  or  sensation."     This  evidence

            indicates absent  ankle reflex  only in December,  1991, with

            periodic  and occasional  reflex  loss or  diminution in  the

            ankle  and left  knee.   Only  in  December, 1991,  does  the

            evidence indicate  that there was any diminution in the right

            knee reflex.3  In  light of the criteria  set out in  Listing

                                
            ____________________

            3.  We  are puzzled by a  reference in Dr.  Grady's report to
            "electrodiagnostic   studies"  done  September  4,  in  which
            "tibial  H  reflexes were  absent in  both  legs."   The only
            electromyographic  report of  record  is  dated September  4,
            1985.  R. 164.  It discusses an "absen[t] ... H reflex on the
            ____
            right side,  [and a] clinically absent ankle jerk."  Claimant
            visited  Dr.   Baradaran  on   September  4,  1990,   and  he
                                                          ____
            recommended  an  EMG; however,  there are  no results  in the
            record.  Assuming  arguendo that  there was an  EMG study  of
                               ________
            September 4,  1990, indicating  that "tibial H  reflexes were
            absent in both  legs," this would  not change our  conclusion

                                         -5-















            1.05(C), we  conclude that there was  substantial evidence in

            support  of the  Secretary's decision  that claimant  did not

            satisfy the Listing requirements.  

                 2.  Claimant argues  next that the ALJ erred  in failing

            to   consider  his   impairments  in   combination.     Nurse

            Demerjian's Progress  Notes, from the South  Boston Community

            Health Center,  reflect that  on December 13,  1991, claimant

            was  deemed  to  have high  blood  pressure.    A later  note

            (December 27, 1991) indicates that claimant's  blood pressure

            was  elevated, and  suggests  that he  lose weight,  decrease

            caffeine   and  stressors,   and  stop  smoking.     Claimant

            apparently  began  taking some  type  of  medication for  his

            pressure in May, 1992, and his blood pressure was  controlled

            by medication by June 26, 1992.  Claimant argues as well that

            he  suffers   from  chronic  obstructive   pulmonary  disease

            ("COPD")  and  that  this,  too,  impairs  him  vocationally.

            However, there  is no evidence of  any vocational limitations

            as a result of the COPD.  Claimant has the burden of proof on

            this issue, see generally 20 C.F.R. 
                        ___ _________

              404.1512, and has failed to carry it.

                 3.    Claimant's  third argument  challenges  the  ALJ's

            conclusion that he is capable of performing the full range of



                                
            ____________________

            that  there   is  substantial   evidence  in  favor   of  the
            Secretary's conclusion that the Listing 1.05(C) criteria were
            not satisfied.

                                         -6-















            light work.4   We note  first that  although the  ALJ did  so

            conclude  in  his findings,  he  did  not  treat claimant  as

            capable of performing the full range of light work.  Instead,

            he accepted for the most part the limitations set out  in the

            RFC  prepared by  Nurse  Demerjian and  he  accepted as  well

            claimant's  professed  need  to  change  position  regularly.

            These qualifications  were part  of the hypotheticals  put to

            the VE, and discussed in detail infra.  
                                            _____

                 Nonetheless,  claimant  insists  that  in  reaching  his

            "light  work" conclusion,  the ALJ  mistakenly relied  on two

            medical  reports  which  gave  no opinion  as  to  claimant's

            ability to perform work-related  activities, and that the ALJ

            misapplied  the limitations  set out in  the report  of Nurse

            Demerjian.

                 Nurse Demerjian submitted an RFC, dated June 1, 1993, in

            which she indicated  that claimant could sit for three hours;

            stand for  two hours; and walk  for four hours as  long as he

            could change position every two hours.  She indicated that he

            could frequently lift up to 5  pounds, occasionally lift 5-10


                                
            ____________________

            4.  20 C.F.R.   404.1567(b) provides:
                Light work involves lifting  no more than 20 pounds  at a
            time with frequent lifting or carrying of objects weighing up
            to 10  pounds.   Even though  the weight lifted  may be  very
            little, a job  is in  this category when  it requires a  good
            deal of walking or standing, or when it involves sitting most
            of the  time  with some  pushing and  pulling of  arm or  leg
            controls.  To be  considered capable of performing a  full or
            wide range  of light work,  you must have  the ability to  do
            substantially all of these activities.  

                                         -7-















            pounds, and never lift any greater weight.  While she thought

            that claimant could bend  occasionally, she indicated that he

            could  never  squat, crawl,  climb  or  reach above  shoulder

            level, and  that he could use only  his right foot to operate

            foot controls.   Nurse  Demerjian revised her  assessment one

            week later,  indicating that  because of shortness  of breath

            and leg problems,  claimant could walk for only 20-30 minutes

            at a time, up to a total of one hour per day.

                 The  record  contains  other  RFCs.   The  first,  dated

            February 27, 1992, indicates that claimant could occasionally

            lift  20 pounds; frequently lift 10 pounds; stand and/or walk

            about 6 hours;  sit up  to 6 hours;  and occasionally  climb;

            balance; stoop;  kneel; crouch and crawl.   The second, dated

            July 23,  1992, reflects the same  exertional limitations but

            differs in its assessment of claimant's postural limitations,

            limiting his stooping capacity to "occasionally," but finding

            that he  could frequently  climb; balance; kneel;  crouch and

            crawl. 

                 In   determining   a   claimant's  residual   functional

            capacity, the  ALJ  is not  limited  to reliance  on  reports

            submitted by claimant's caregivers.   The ALJ may also, under

            certain  circumstances,  rely on  reports  submitted  by non-

            testifying, non-examining physicians.  See  generally Berrios
                                                   ___  _________ _______

            Lopez  v. Secretary of Health  and Human Services,  951 F. 2d
            _____     _______________________________________

            427,  429-32 (1st Cir. 1991).  This is especially true where,



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            as here,  these reports  include medical findings  to support

            the  conclusions; the reports were prepared after most of the

            relevant medical data was generated;  and the reports tend to

            reinforce one another.  Berrios Lopez, 951 F.2d at 431.  
                                    _____________

                 Thus,  we conclude that the ALJ could have relied on the

            RFCs of the non-treating physicians, and we find further that

            these would have supported  a light work exertional capacity.

            We note again that in any event the ALJ did not hold claimant

            to this standard, but assessed his work capabilities in light

            of his particular non-exertional impairments.  

                 4.  Claimant's fourth argument is that the hypotheticals

            given  to the VE did  not accurately reflect  the evidence in

            the record and so were improper under the standard set out in

            Arocho v.  Secretary of Health  and Human Services,  670 F.2d
            ______     _______________________________________

            374  (1st Cir.  1982).    We  observed in  Arocho that  for a
                                                       ______

            vocational expert's answer to  a hypothetical to be relevant,

            "the  inputs  into  that  hypothetical  must  correspond   to

            conclusions  that  are  supported  by the  outputs  from  the

            medical  authorities."    Id. at  375.    "To guarantee  that
                                      ___

            correspondence,  the  Administrative  Law  Judge   must  both

            clarify the outputs (deciding what testimony will be credited

            and  resolving  ambiguities),  and  accurately  transmit  the

            clarified output to  the expert in the  form of assumptions."

            Id.
            __





                                         -9-















                 Claimant described his daily activities  at the hearing.

            He  indicated that he can walk twenty minutes before he needs

            to stop  to catch  his breath,  and that if  he sits  for "an

            average of three hours, that's a lot."  He does  not make his

            bed,  but he  does dust,  and he  prepares frozen  dinners or

            hamburgers  for meals.  He  shops for groceries  once a month

            and he has them delivered.  

                 The ALJ questioned  the vocational  expert about  "light

            jobs  with an  option  to change  position."   After  the  VE

            identified various jobs, such as security guard/gate  keeper,

            self service gas station attendant and cashier, the ALJ added

            claimant's  restrictions  regarding   sitting,  walking   and

            standing,  and the need to  alternate position.   He added as

            well  the   exertional   requirements  described   by   Nurse

            Demerjian, which were lower than  the exertional requirements

            described in the  other RFPs in the record.  The VE indicated

            that  the jobs he had identified did not involve any lifting,

            and did not  require the operation of any  machinery.   These

            jobs  assumed  a  sixth grade  level  of  education, and  the

            ability to read  a newspaper.   If claimant  could not  reach

            above the shoulder, that would eliminate the self service gas

            station attendant.     

                 We perceive no problem with the data given by the ALJ to

            the VE.   The record  evidence supports the  ALJ's conclusion

            that the claimant can perform light  work.  The fact that the



                                         -10-















            strength limitations the ALJ gave to  the VE approximated the

            sedentary strength requirements does not change this.  First,

            as indicated above,  the ALJ could reasonably  have relied on

            the other  RFCs of record which found  claimant somewhat more

            able  than did  the RFC  completed by  Nurse Demerjian.   See
                                                                      ___

            generally Berrios Lopez, 951 F.2d at 429-32.  Next, we see no
            _________ _____________

            reason why  a VE  cannot testify  that particular light  jobs

            involve little or no lifting.  Cf. Moncada v. Chater, 60 F.3d
                                           __  _______    ______

            521, 524 (9th Cir. 1995)(fact that "some jobs listed by VE as

            sedentary  are  also listed  as "light"  work  in the  DOT is

            irrelevant; VE `can testify whether particular applicants for

            disability benefits would be able to perform subcategories of

            jobs within the DOT'")(citation omitted).

                 The ALJ apparently did not credit claimant's allegations

            of  disabling  pain  as  imposing any  additional  exertional

            limitations  (see infra) and so  was not obligated to present
                          ___ _____

            these to the VE.  The ALJ otherwise tailored his hypothetical

            to  reflect claimant's  particular  needs.5   We perceive  no

            error.    5.   Claimant's  final  challenge is  to the  ALJ's

            failure to credit his  complaints of unremitting and constant


                                
            ____________________

            5.  Insofar as claimant may  be arguing that the ALJ  in fact
            applied the grid to  reach his conclusion against disability,
            we do not agree.  The ALJ cited to the grid in his  findings,
            but  observed that  the  conclusion of  "not disabled"  which
            would have been directed by the  relevant grid rule coincided
            with vocational expert testimony.  As indicated above, we are
            satisfied   that  the  ALJ   adequately  conveyed  claimant's
            limitations to the VE.    

                                         -11-















            pain as  imposing a non-exertional impairment  in addition to

            the exertional  and  positional impairments  set out  above.6

            It  appears to us that the ALJ properly followed the approach

            endorsed in Avery v. Secretary of Health and Human Services, 
                        _____    ______________________________________

            797 F. 2d 19 (1st Cir. 1986).  

                 We have construed Avery to mean that "complaints of pain
                                   _____

            need not be precisely corroborated by objective findings, but

            they  must be consistent  with medical findings."   Dupuis v.
                                                                ______

            Secretary  of Health  and Human  Services, 869 F.2d  622, 623
            _________________________________________

            (1st Cir. 1989).  Assuming without  more that claimant's back

            impairment  could reasonably cause pain, the ALJ investigated

            claimant's activities  and medications,  and observed him  at

            the  hearing.   The ALJ concluded,  after considering  all of

            this, that  claimant's allegations did not  impose additional

            restrictions other than limiting him to light work.  Id.   We
                                                                 __

            have said  repeatedly that we pay  "`particular attention' to

            an ALJ's evaluation of  complaints of pain in light  of their

            `subjective nature.'"  Ortiz v. Secretary of Health and Human
                                   _____    _____________________________

            Services,  890  F.2d  520,  523 (1st  Cir.  1989)  (citations
            ________

                                
            ____________________

            6.  The ALJ's credibility finding,  to the effect that "[t]he
            claimant  is accepted as a credible witness to the extent set
            forth  above (Social  Security Ruling  88-13)" means  what it
            says.   Above,  the  ALJ had,  in  accordance with  Avery  v.
                                                                _____
            Secretary of Health and Human Services, 797 F.2d 19 (1st Cir.
            ______________________________________
            1986), reviewed claimant's activities, his description of his
            pain  and his  medication,  and had  concluded that  claimant
            could perform light work.  We reject the suggestion that this
            specific  finding in  favor of  claimant's credibility  means
            that the  ALJ found  credible claimant's assertions  that his
            pain further limited him from performing work.      

                                         -12-















            omitted).  We find  no error.  There is  substantial evidence

            in the record  to support the Secretary's decision  which is,

            accordingly, affirmed.
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